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                     UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF TENNESSEE
                           WESTERN DIVISION

THOMAS E. PARIMORE &
PATRICIA A. PARIMORE,

                                              JUDGMENT IN A CIVIL CASE
                 Plaintiff,

v.

BANK OF AMERICA, N.A., and
DEUTSCHE BANK NATIONAL TRUST
COMPANY,                                      CASE NO: 12-2158-tmp

                 Defendant.



DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order
Granting Defendant’s Motion to Dismiss entered on January 15,
2013, this cause is hereby dismissed.



APPROVED:


s/ Tu M. Pham
TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

January 15, 2013                               THOMAS M. GOULD
DATE                                           Clerk of Court

                                               s/Sandra McClain
                                              (By) Deputy Clerk
